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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS.

SHANE JENKINS

 

NOTE FROM JURY

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